            Case 1:18-mj-00137-PMS Document 11 Filed 10/16/18 Page 1 of 1 Pageid#: 229

AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT                                               l C.Ol.-9~~~ c£\-
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                                                                                                                                    FILED
                                                        Western District of Virginia
                                                                                                                              OCT 15 2018
                  United States of America                                                          ,                       JU lA

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                            .v.                                          )
                   Joshua Todd CHAPMAN                                   )        CaseNo.
                                                                         )
                                                                         )
                                                                         )
                                                                         )
                             Defendant


                                                       ARREST WARRANT
To:      Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)       Joshua Todd CHAPMAN
                                 --------------------------------------------------~---------------


who is accused of an offense or violation based on the following document filed with the court:

0 Indictment             0    Superseding Indictment           0 Information         0 Superseding Information             ~Complaint
0 Probation Violation Petition               0 Supervised Release Violation Petition           OViolation Notice           0 Order ofthe Court

This offense is briefly described as follows:
  21 USC 846 & 841- Conspiracy to distribute and possess with the intent to distribute a substance containing
  methamphetamine




City and state:       Abingdon, VA                                            Pamela Meade Sargent, United States Magistrate Judge
                                                                                                  Printed name and title


                                                                      Return

 .        This warrant was received on (date)           9,\ 1..\ \    \ "6   , and the person was arrested on (date)
at (city and state)            t \ \..l                    \     .\
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                                                                                                  Printed name and title    ~ ~~
